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9.       Are you presently a member in good standing of the bars of the courts listed above?
            Yes     No
         If “No,” please list all courts which you are no longer admitted to practice:




10.      Have you ever been subject to a grievance proceeding or involuntary removal proceeding
         while a member of the bar of any state or federal court?
            Yes    No
         If “Yes,” please provide details:




11.      Other than minor traffic offenses, have you ever been charged, arrested, or convicted of a
         criminal offense or offenses?
            Yes    No
         If “Yes,” please provide details:




12.      Please list all cases in the United States Bankruptcy Court, Northern District of Texas in
         which you have filed forpro hac vice in the past three years:
         Date of Application            Case No. and Style
         __________________             _______________________________________________
         __________________             _______________________________________________
         __________________             _______________________________________________


13.      Local counsel of record: ___________________________________________________

14.      Local counsel’s address: ___________________________________________________
         _______________________________________________________________________




                                                                                         Continued.
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       I respectfully request to be admitted to practice in the United States Bankruptcy Court for
the Northern District of Texas for this cause only.

       I certify that I have read Dondi Properties Corp. V Commerce Savs. & Loan Ass’n, 121
F.D.R. 284 (N.D. Tex. 1988) (en banc), and the local civil and bankruptcy rules of this court and
will comply with the standards of practice adopted in Dondi and with the local civil and
bankruptcy rules.

          I am an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and filed the application via ECF with the payment of
$   .00

          I am not an ECF filer. I also certify that I have served a true and correct copy of this
document upon each attorney of record and the original upon the US Bankruptcy Court
accompanied with the $    .00 filing fee on ________________.



Marshall R. King
_______________________________                                     9/22/2021
                                                                    ____________________
Printed Name of Applicant                                           Date



_______________________________
Signature of Applicant
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                                  MARSHALL R. KING
                                COURT ADMISSION DATES


United States Court of Appeals for the Fourth Circuit                   January 31, 2008

United States Court of Appeals for the Second Circuit                   September 22, 2006

United States District Court for the Eastern District of New York       July 1993

United States District Court for the Southern District of New York      July 1993

United States Court of Appeals for the Ninth Circuit                    June 21, 2002

United States Court of Appeals for the Eleventh Circuit                 April 11, 2003

New York State Court                                                    March 23, 1992

New Jersey State Court                                                  December 19, 1991

United States District Court of New Jersey                              December 1991
